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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

LOUISE AFFLIS,
Plaintiff,

vs. No. 03-2714 BP

BAPTIST MEMORIAL HOSPITAL

d/b/a BAPTIST MEMORIAL
HOSPITAL-COLLIERVILLE,

~_¢\.¢\.¢\_d`_¢\.¢\_¢~_¢v\_¢\-/

Defendants.

 

ORDER ON DEFENDANT'S OBJECTIONS TO PLAINTIFF'S DISCLOSURE OF
EXHIBITS

 

Before the court is defendant Baptist Memorial Hospital's
(“Baptist Memorial”) Objections to Plaintiff's Disclosure of
Exhibits, filed on August 12, 2005 (dkt #55). Plaintiff Afflis
filed a response on August 23, 2005. On August 23, 2005, at the
court’s request, Afflis submitted to the court for its review a
copy of Dr. Robert Nucci’s deposition transcript and deposition
exhibits. The matter was referred to the United States Magistrate
Judge for determination.

I . BACKGROUND

Afflis filed a negligence complaint against Baptist Memorial

on September 19, 2003. In her complaint, Afflis alleges that on

September 19, 2002, she was visiting her hospitalized daughter at

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Baptist Memorial when, after entering her daughter’s hospital room,
Afflis slipped and fell on a wet substance on the floor. Afflis’s
fall allegedly caused her to break her left arm, sprain her left
knee, and suffer head, neck, and lower back injuries. She claims
that as a result of her fall, she suffers from hip and nerve damage
on her left side, loss of vision in her left eye, and experiences
vertigo.

The jury trial is scheduled to begin on August 29, 2005. On
August 12, Baptist Memorial filed objections on hearsay grounds to
the following exhibits that Afflis intends to introduce at trial:
(l) narrative reports prepared at the request of Afflis's counsel
by Dr. Robert Nucci and Karen Wolstein; (2) medical records
possessed by Drs. Nucci and Wolstein to the extent that these
records contain records from other health care providers; (3)
medical bills by medical providers other than Dr. Nucci and Baptist
Memorial; and (4) an affidavit sworn by Michelle Thomas, R.N.,
filed November 5, 2004.1

Afflis contends that the narrative reports and.medical records

are admissible under the business records exception to the hearsay

rule, under Fed. R. Evid. 803(6). Afflis further argues that the

 

1Baptist Memorial also incorporates by reference its
objections to the deposition of Dr. Nucci raised in its Motion in
Limine. Because the court addressed Baptist Memorial's
objections in its August 25 Order Granting in Part Defendant's
Motion in Limine, the court will not address Baptist Memorial’s
objections to the deposition in this order.

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Thomas affidavit is admissible as an admission by a party~opponent
under Fed. R. Evid. SOl(d)(Z). Afflis relies on her response to
Baptist Memorial's Motion in Limine to oppose Baptist Memorial's
hearsay arguments against the admissibility of Afflis’s medical
bills by medical care providers other than Dr. Nucci and Baptist
Memorial.

II . ANALYSIS

A. Narrative Reports

The narrative reports prepared by Drs. Wolstein and Nucci are
inadmissible hearsay and do not qualify as business records under
Fed. R. Evid. 803(6). To qualify under the exception, a report
must satisfy the following four requirements:

(l) it must have been made in the course of a regularly
conducted business activity; (2) it must have been kept
in the regular course of that business; (3) the regular
practice of that business must have been to have made the
memorandum; and (4) the memorandum must have been made by
a. person with knowledge of the transaction or from
information transmitted by a person with knowledge.

US v. Weinstock, 153 F.3d 272, 276 (6th Cir. 1998). Here, Dr.

 

Nucci's report was not prepared in the regular course of business,
but rather at the direction of Afflis's counsel. (Nucci Dep. at
13-14, 66). Afflis has not shown that it was Dr. Nucci's regular
practice to prepare such reports or that the reports were kept in
the regular course of his medical practice. Thus, the business

record exception does not apply and Dr. Nucci's narrative report is

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inadmissible hearsay.2

Because no written declaration has been provided (§§§ Fed. R.
Evid. 902(11)) nor has any deposition been taken of Dr. Wolstein,
or a records custodian, there is no indication at this time that
her narrative report was prepared or kept as part of her regular
practice. As the proponent of the evidence, Afflis bears the
burden of demonstrating that the narrative report is admissible

under the business records exception. U.S. v. Brika, 416 F.3d 514

 

(Gth, Cir. 2005); Starks~Umoja v. Federal Express Corp., 341
F.Supp.Zd 979, 983 (W.D. Tenn. 2003) (McCalla, J.). Having failed
to establish at this time that Dr. Wolstein prepared and maintained
such reports as part of her regular practice, Afflis has not shown
that Dr. Wolstein's narrative report qualifies as a business
record.3

B. Medical Records

The medical records possessed by Dr. Nucci, which includes

 

2Afflis also argues that the court should overrule Baptist
Memorial's objections with respect to Dr. Nucci's narrative
report because it was not objected to at Dr. Nucci's deposition.
Under Fed. R. Civ. P. 32, a party objecting to the substance of a
deposition on hearsay grounds need not object at the deposition
to preserve the objection. Fed. R. Civ. P. 32(b); see also Roth
v. Amtrack, 1999 U.S. Dist. LEXIS 19901, at *7 (N.D. Ill. 1999)
(unpublished) (concluding that Rule 32(b) does not require a
party to preserve an objection by raising it at the deposition).

3Should Dr. Wolstein, or a records custodian, testify at
trial, her narrative report might be admitted under Fed. R. Evid.
803(6). Dr. Nucci, however, has already testified that he does
not produce narrative reports in the ordinary course of business.

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records from other health care providers, do not qualify‘ as
admissible hearsay under the business records exception. As an
initial netter, the fact that Dr. Nucci's records incorporate
records of other providers alone does not render the records
inadmissible. Dr. Nucci, or a records custodian, could testify
only as to his record-keeping process for purposes of Rules 803(6)
and 901, and it is not necessary “that the witness who lays the
foundation be the author of the record or be able to personally
attest to its accuracy.” United States v. Duncan, 919 F.2d 981,
986-87 (5th Cir. 1990) (admitting into evidence insurance records
that included hospital's business records). Rather, it is
sufficient that Dr. Nucci incorporated the medical records of other
treating physicians into his own medical records. _§e United
States v. Jakobetz, 955 F.2d 786, 800~01 (2nd Cir, 1992) (creator
of document need not testify when document has been incorporated
into business records of testifying entity); Falco v. Alpha
Affiliatesl Inc., 2000 U.S. Dist. LEXIS 7480, at *50 (D. Del. 2000)
(unpublished) (“Rule 803(6) permits the admission of business
records through the testimony of a witness not affiliated with the
third party entity that created the records”).

If Afflis can provide a records custodian, or written
declaration, to lay the necessary foundation, the portions of Dr.
Nucci's and Dr. Wolstein’s medical records containing the medical

records of other care providers could be admissible. Nevertheless,

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based on the present record, the court finds that the records are
inadmissible. As the proponent of the medical records. Afflis has
the burden of laying an appropriate foundation for their admission
into evidence. United States v. Brika, 416 F.3d 514 (6th Cir.
2005); United States v. Pluta, 176 F.3d 43, 49 (2nd Cir. 1999);
United States v. Robbins, 197 F.3d 829, 838 (7th Cir. l999). To
establish a sufficient foundation, a custodian of the record or
another qualified witness must testify (or provide a written
declaration) that the record meets the requirements of Fed. R.
Evid. 803(6). United States v. Salgado, 250 F.3d 438, 451-52 (6th
Cir. 2001); United States v. Weinstock, 153 F.3d 272, 276 (6th Cir.
1998).
As with. his narrative report, there is not indication in the
present record that the records have been authenticated, and
without the requisite foundation, Dr. Nucci's medical records may
not be admitted through the business records hearsay exception.
See Starks-Umoja v. Federal Express Corp., 341 F.Supp.2d 979, 983
(W.D. Tenn. 2003) (McCalla, J.). Thus, Baptist Memorial's
objection with respect to Dr. Nucci’s medical records, to the
extent that his records contain records from other health care
providers, is therefore sustained at this time.

Likewise, there is nothing to indicate that Dr. Wolstein's
medical records have been authenticated. Dr. Wolstein has not been

deposed in preparation for trial, nor is she, or a records

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custodian, listed by Afflis as among those witnesses who will be or
may be testifying at trial. Thus, assuming that Dr. Wolstein fails
to lay the requisite foundation for her medical records to be
admitted into evidence under Fed. R. Evid. 803(6}, Baptist
Memorial’s objection with respect to Dr. Wolstein's medical
records, to the extent that her records contain records from other
health care providers, is also sustained.

C. Medical Bills

Baptist Memorial argues that Afflis’s medical bills, other
than those charged by Dr. Nucci or Baptist Memorial, are
inadmissible hearsay. Afflis responds by incorporating her
response to Baptist Memorial's Motion in Limine. Afflis’s response
to Defendant’s Motion in Limine, however, does not address Baptist
Memorial's hearsay argument. The bills are prima facie hearsay,
and thus the court sustains Baptist Memorial's objections with
respect to these medical bills.4
D. Affidavit of Michelle Thomas, R.N.

Finally, Baptist Memorial objects to the affidavit of Michelle
Thomas. Afflis contends that the affidavit is admissible under the
party-opponent admission hearsay exclusion provided in Fed. R.
Evid. 801(d)(2). A statement offered against a party is not

hearsay if it is the party’s own statement or a “statement by the

 

4The bills might be admissible through a records custodian
or written declaration under Rule 803(6).

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party's agent or servant concerning a matter within the scope of
the agency or employment, made during the existence of the
relationship.” Fed. R. Evid. BOl(d)(Z)(D); see alsg Peyton v.
Kellermeyer Co., 115 Fed. Appx. 825, at *9 (6th Cir. 2004). At the
time the affidavit was sworn, Thomas was an employee of Baptist
Memorial, and the contents of her affidavit concern her duties and
observations as a nurse at Baptist Memorial on the night Afflis
allegedly fell. Thus, the affidavit by Thomas fits squarely within
the party-opponent admission hearsay exclusion and Baptist
Memorial's objection to its introduction into evidence is
overruled.

IT IS SO ORDERED.

 

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TU M. PHAM
United States Magistrate Judge

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Date

 

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Honorable J. Breen
US DISTRICT COURT

